 

Case 1:19-mr-00776-KK Document 3 Filed 07/03/19 Page 1 of 2

AO 93 (Rev. 12/09) Search and Seizure Warrant

 

UNITED STATES DISTRICT COURT

for the
District of New Mexico

In the Matter of the Search of
(Briefly describe the property to be searched

or identify the person by name and address) ) Case No. WV C
)
)
)

 

Marcel SMALL
Date of Birth: XX/XX/1990
SSN: XXX-XX-7553

SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the District of New Mexico
(identify the person or describe the property to be searched and give its location):

 

The person known as Marcel SMALL, Date of Birth: XX/XX/1990, SSN: XXX-XX-7553

The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):

Fingprints; to wit; major case prints from Marcel SMALL, which would be material evidence in a criminal prosecution.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

YOU ARE COMMANDED to execute this warrant on or before ( whe | 2, ZOlP
tot to exceed 14 days)

% inthe daytime 6:00 a.m. to 10 p.m. ( at any time in the day or night as C find reasonable cause has been
established.

 

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge

J ctan Khalea—

(name)

© I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized (check the appropriate box) ©) for days (not to exceed 30).

(1 until, the facts justifying, the later specific date of

Date and time issued: July | Zol q [: 26 pu. VA ae

Judge’s signature

City and state: Albuquerque, New Mexico Kita Kha Isa US Magi sfrok Si Nicky

Printed name and title

 
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Return
Case No.: Date ime warrant executed: Copy of warrant and inventory left with:
19-4q2250 | 7/509 0440 Maree( ag l{
{

 

Inventory made in the presence of :

J-  Solliven

 

Inventory of the property taken and name of any person(s) seized:

Major Case prints ftom Marcel Sm I/

 

Certification

 

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original
warrant to the designated judge.

Date: wi | J

 

y ()- Executing officer’s signature

 

Printed name and “tle *

 

 
